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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW MEXICO


THE AIR CONDITIONING, HEATING AND
REFRIGERATION INSTITUTE, et al.,

               Plaintiffs,

v.                                                           Civ. No. 08-633 MV/KBM

CITY OF ALBUQUERQUE,

               Defendant.


                                         JUDGMENT

       Having granted Plaintiffs’ Motion and Memorandum Brief for Summary Judgment:

Severability [Doc. 159], by separate Memorandum Opinion and Order entered on January 25,

2012 [Doc. 185], and the parties having filed a Stipulation of Dismissal of Plaintiffs’ Remaining

Claim for Attorneys’ Fees [Doc. 189],

       IT IS ORDERED that this action is hereby DISMISSED.




                                             MARTHA VÁZQUEZ
                                             UNITED STATES DISTRICT JUDGE
